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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

                           CASE NO. 8:22-cv-02227-SDM-SPF

PROCCOR PHARMACEUTICALS, INC.,

             Plaintiff,

v.

WORLD HEALTH PRODUCTS, LLC
d/b/a GAT SPORT and VITAMIN SHOPPE
INDUSTRIES LLC, d/b/a THE VITAMIN
SHOPPE,

      Defendants.
______________________________________/

                    NOTICE OF ATTORNEY APPEARANCE

      The law firm of McHale & Slavin, P.A. hereby gives notice of the appearance

of Andrew D. Lockton, of the aforesaid law firm, as counsel for the Defendants in

the above-styled action, and accordingly requests that copies of all filings in this

action be served on him at the address listed below.

                                       Respectfully submitted,

                                       McHALE & SLAVIN, P.A.
                                       /s/ Andrew D. Lockton
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